JS 44 (Rev. 10/20)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules
of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
                                                required):            Green Bay Division              Milwaukee Division
I. (a) PLAINTIFFS                                                                                             DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)




II. BASIS OF JURISDICTION                                                    Only)             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                          in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
   1   U.S. Government                    3 Federal Question                                                                      PTF         DEF                                             PTF       DEF
         Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State            1          1      Incorporated orPrincipal Place               4     4
                                                                                                                                                         of Business In This State

   2   U.S. Government                    4 Diversity                                               Citizen of Another State            2          2   Incorporated and Principal Place             5       5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                               6       6
                                                                                                      Foreign Country
IV. NATURE OF SUIT                                                Only)                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                                FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                           310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                       315 Airplane Product                Product Liability          690 Other                                28 USC 157                         3729(a))
   140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                       400 State Reapportionment
   150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment             Slander                        Personal Injury                                                  820 Copyrights                    430 Banks and Banking
   151 Medicare Act                     330 Federal                         Product Liability                                                830 Patent                        450 Commerce
   152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
        Student Loans                   340 Marine                          Injury Product                                                       New Drug Application          470 Racketeer Influenced and
        (Excludes Veterans)             345 Marine Product                  Liability                                                        840 Trademark                         Corrupt Organizations
   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
       of          Benefits             350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                  Act of 2016                       (15 USC 1681 or 1692)
   160               Suits              355 Motor Vehicle               371 Truth in Lending               Act                                                                 485 Telephone Consumer
   190 Other Contract                       Product Liability           380 Other Personal             720 Labor/Management                  SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability       360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                   490 Cable/Sat TV
   196 Franchise                            Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)               850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                            Medical Malpractice                                             Leave Act                       864 SSID Title XVI                 890 Other Statutory Actions
       REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
   210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                 893 Environmental Matters
   220 Foreclosure                      441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff              Act
   240 Torts to Land                    443 Housing/                        Sentence                                                             or Defendant)                 896 Arbitration
   245 Tort Product Liability               Accommodations              530 General                                                         871 IRS Third Party                899 Administrative Procedure
   290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                       Act/Review or Appeal of
                                            Employment                  Other:                         462 Naturalization Application                                              Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                   950 Constitutionality of
                                            Other                       550 Civil Rights                   Actions                                                                 State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN                                     Only)
  1 Original                2 Removed from                    3      Remanded from               4 Reinstated or              5 Transferred from     6 Multidistrict                      8 Multidistrict
    Proceeding                State Court                            Appellate Court               Reopened                     Another District         Litigation -                       Litigation -
                                                                                                                                (specify)                Transfer                           Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                       Brief description of cause:

VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                             (See           structions):
      IF ANY                                                        JUDGE                                                                   DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY
                               Case 2:25-cv-00958-BHL                                  Filed 07/07/25                  Page 1 of 2                 Document 1-1
   RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                            MAG. JUDGE
JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

         Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

         Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

         Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statue.

         Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

         Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

        Related Cases. This section of the JS 44 is used to reference related                                 cases, if any. If there are related cases, insert the
        docket numbers and the corresponding judge names for such cases

Date and Attorney Signature. Date and sign the civil cover sheet.




                             Case 2:25-cv-00958-BHL                 Filed 07/07/25             Page 2 of 2            Document 1-1
